                                  IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                          )
                                                                )
ANDY LAMAR ALLMAN,                                              )        Bk. No. 17-03085-CW3-13
639 Bonita Pkwy.                                                )        Chapter 13
Hendersonville, TN 37075                                        )        Judge Charles M. Walker
SSN: XXX-XX-8498                                                )
                      Debtor(s).                                )

THE DEADLINE FOR FILING A TIMELY RESPONSE IS: June 12, 2017
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: June 21, 2017 at 8:30 a.m. in Courtroom 1, 2nd
Floor Customs House, 701 Broadway, Nashville, Tennessee 37203

              NOTICE OF TRUSTEE’S MOTION TO DISMISS, FOR CAUSE, FOR UNREASONABLE
                                DELAY PREJUDICIAL TO CREDITORS

                 Henry E. Hildebrand, III, Standing Trustee for Chapter 13 matters in the Middle District of Tennessee, has
asked the Court for the following relief: Trustee’s Motion to Dismiss, for cause, for unreasonable delay by the debtor
prejudicial to creditors.
         YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion by entering
the attached order, or if you want the court to consider your views on the motion, then on or before the response date stated
above, you or your attorney must:

1.       File with the court your response or objection explaining your position. Please note: the Bankruptcy Court for the
Middle District of Tennessee requires electronic filing. Any response or objection you wish to file must be submitted
electronically. To file electronically, you or your attorney must go to the court website and follow the instructions at:
<https://ecf.tnmb.uscourts.gov>.
         If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may also
         visit the Bankruptcy Court in person at: 701 Broadway, 1st Floor, Nashville, TN (Monday - Friday, 8:00 A.M. - 4:00
         P.M.).

2.     Your response must state the deadline for filing responses, the date of the scheduled hearing and the motion to
which you are responding.

        If a response is filed before the deadline stated above, the hearing will be held at the time and place indicated above.
THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response
has been filed by viewing the case on the court’s website at <https://ecf.tnmb.uscourts.gov>.

        If you or your attorney does not take these steps, the court may decide that you do not oppose the relief sought in
the motion and may enter the attached order granting that relief.

Date: May 22, 2017
                                                                     /s/ Henry E. Hildebrand, III
                                                                     ______________________________
                                                                     Henry E. Hildebrand, III
                                                                     Chapter 13 Trustee
                                                                     P. O. Box 340019
                                                                     Nashville, TN 37203-0019
                                                                     615-244-1101; Fax 615-242-3241
                                                                     www.ch13nsh.com
                                                                     pleadings@ch13nsh.com




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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:                                                    )
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ANDY LAMAR ALLMAN,                                        )       Bk. No. 17-03085-CW3-13
639 Bonita Pkwy.                                          )       Chapter 13
Hendersonville, TN 37075                                  )       Judge Charles M. Walker
SSN: XXX-XX-8498                                          )
                                                          )
                       Debtor(s).                         )

                TRUSTEE’S MOTION TO DISMISS, FOR CAUSE, FOR UNREASONABLE
                            DELAY PREJUDICIAL TO CREDITORS

               Henry E. Hildebrand, III, Standing Trustee for Chapter 13 matters in the Middle District of
Tennessee, respectfully moves this Court to dismiss the above-styled case, for cause, for unreasonable delay by
the debtor prejudicial to creditors. In support of this motion, the Trustee would state as follows:

               The debtor filed a voluntary petition under Chapter 13 of Title 11 U.S.C. on May 3, 2017.

               The debtor has failed to file a Chapter 13 Plan within the time prescribed by Rule 3015, F.R.B.P.

               The debtor has failed to file Schedules documenting the debtor’s assets and liabilities as required
by Rule 1007(b)(1)(A). The debtor has failed to file Schedules documenting the debtor’s income and expenses
as required by Rule 1007(b)(1)(B). The debtor has failed to submit a Statement of Financial Affairs as required
by Rule 1007(b)(1)(D). The debtor has failed to submit a Form 22C documenting the debtor’s Current Monthly
Income and Monthly Projected Disposable Income as required by Rule 1007(b)(6).

                The debtor has failed to submit a complete Matrix of Creditors as required by Rule 1007(a)(1), thus
failing to provide names and addresses of the debtor’s creditors. By failing to provide the Creditor Matrix,
creditors are prevented from receiving adequate notice of the debtor’s filing.

              The debtor has failed to submit a Certificate from an approved non-profit budget and credit
counseling agency demonstrating that the debtor has received a pre-petition briefing as required by 11 U.S.C. §
109.

                The debtor has not received a briefing from an approved non-profit budget and credit counseling
agency because the debtor asserts exigent circumstances exist. The debtor has failed to request Court approval
of a waiver of this requirement.

               WHEREFORE, THE PREMISES CONSIDERED, the Trustee requests this Court dismiss the
above-styled case, for cause, for unreasonable delay by the debtor prejudicial to creditors.

                                                          Respectfully submitted,


                                                          /s/ Henry E. Hildebrand, III
                                                          ______________________________
                                                          Henry E. Hildebrand, III
                                                          Chapter 13 Trustee
                                                          P. O. Box 340019
                                                          Nashville, TN 37203-0019
                                                          615-244-1101; Fax 615-242-3241
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                                           CERTIFICATE OF SERVICE


               I, the undersigned, hereby certifies that on or before the 22nd day of May, 2017, a true and correct
copy of the foregoing has been served in the following manner:

Email by Electronic Case Noticing to:
U. S. Trustee

By U. S. Postal Service, postage prepaid to:
Andy L. Allman, 639 Bonita Pkwy., Hendersonville, TN 37075
Cenlar FSB, c/o Wilson & Associates PLLC, 5300 Maryland Way, Suite 103, Brentwood, TN 37027

By U. S. Postal Service, certified mail:
Andy L. Allman, 639 Bonita Pkwy., Hendersonville, TN 37075

                                                          /s/ Henry E. Hildebrand, III
                                                          ______________________________
                                                          Henry E. Hildebrand, III
                                                          Chapter 13 Trustee




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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE MIDDLE DISTRICT OF TENNESSEE


IN RE:                                                     )
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ANDY LAMAR ALLMAN,                                         )       Bk. No. 17-03085-CW3-13
639 Bonita Pkwy.                                           )       Chapter 13
Hendersonville, TN 37075                                   )       Judge Charles M. Walker
                                                           )
SSN: XXX-XX-8498                                           )
                                                           )
                       Debtor(s).                          )

                                          ORDER DISMISSING CASE


                        It appearing to the Court, based upon the certification of the Trustee as indicated by his
electronic signature below, that the Trustee has filed a Motion to Dismiss the above-styled case, for cause and that,
pursuant to Rule 9013-1 of the Local Rules of the Bankruptcy Court for the Middle District of Tennessee, has
forwarded a copy of that application along with notice and an opportunity to be heard to the debtor, the creditor
that filed Notice of Appearance and Request for Service, and the Assistant U. S. Trustee and that no affected party
in interest has objected to or requested a hearing on the Trustee’s application, it is

                ORDERED, the above-styled case is dismissed, for cause, for unreasonable delay by the debtor
prejudicial to creditors; it is further

                ORDERED, the Trustee is authorized to disburse from funds on hand, if any, any unpaid filing fee,
notice fee, unpaid adequate protection payments to secured creditors, allowed and approved administrative claims,
or unpaid Trustee commission, if any, prior to returning any funds to the debtor.

                                                                   THIS ORDER WAS SIGNED AND ENTERED
                                                                   ELECTRONICALLY AS INDICATED AT THE
                                                                   TOP OF THE FIRST PAGE.

APPROVED BY:



______________________________
Henry E. Hildebrand, III
Chapter 13 Trustee
P. O. Box 340019
Nashville, TN 37203-0019
615-244-1101; Fax 615-242-3241
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